                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TENNESSEE

  VOLKSWAGEN GROUP OF AMERICA                      )
  CHATTANOOGA OPERATIONS, LLC,                     )
                                                   )
         Plaintiff,                                )
                                                   )
  v.                                               )         CASE NO. 1:22-CV-191
                                                   )
  SAARGUMMI TENNESSEE, INC.,                       )         Judge Atchley
                                                   )
         Defendants.                               )         Magistrate Judge Steger
                                                   )
                                                   )

                      SECOND JOINT MOTION TO CONTINUE HEARING
                             ON PRELIMINARY INJUNCTION

         Plaintiff Volkswagen Group of America Chattanooga Operations, LLC ("VW"), and

  Defendant SaarGummi Tennessee, Inc. ("SaarGummi") (collectively, the "Parties") respectfully

  move for a second continuance of the hearing (the “Hearing”) on the VW’s Motion for

  Preliminary Injunction (Doc. 3) set for August 2, 2022 at 2 p.m. (Doc. 16).

         On July 29, 2022, the Parties memorialized in writing a Letter of Intent, which gives the

  Parties and their affiliates until the end of August to come to, inter alia, an agreement as to

  proposed payments to SaarGummi relating to the Parts, and an agreement for go-forward pricing

  and continued supply of the Parts contingent on reaching agreement as to, inter alia, the certain

  payments to SaarGummi relating to the Parts. Therefore, the Parties request a continuance of the

  Hearing until September 1, 2022, or as soon thereafter as counsel can be heard. VW has already

  filed supplemental briefing on its Motion, and SaarGummi will file its response by 5 p.m. today.

  The Parties agree that on Monday, August 29, 2022 by 5 p.m., or three business days before the

  Hearing, whichever comes later, VW and SaarGummi may file supplemental briefs addressing




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  any new issues that arise and shall exchange copies of all exhibits each side intends to introduce

  into evidence at the Hearing.

         WHEREFORE, the Parties respectfully request that this Court grant the Parties’ motion

  and (a) adjourn the Hearing to September 1, 2022, or to a date as soon thereafter as counsel can

  be heard, and (b) set a deadline of 5 p.m. three business days before the Hearing for the parties to

  file supplemental briefs and exchange copies of all exhibits each side intends to introduce into

  evidence at the Hearing.

         This the 29th day of July, 2022.



                                                 Respectfully submitted,

                                                 CHAMBLISS, BAHNER & STOPHEL, P.C.

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                                                  WOOLF, MCCLANE, BRIGHT, ALLEN &
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                                                  Counsel for Saargummi Tennessee, Inc.


                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 29, 2022, a copy of the foregoing SECOND JOINT
  MOTION TO CONTINUE HEARING ON PRELIMINARY INJUNCTION was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be served by
  regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.


                                                         By: /s/Catherine Dorvil




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